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                Exhibit F
                    Case 2:17-cr-00163-TSZ Document 114-3 Filed 09/28/18 Page 2 of 54
(Rev. 0l-31-2003)


                                          FEDERAL BUREAU OF INVESTIGATION




          Precedence:          ROUTINE                                      Date:   03   /22/2001
          To:       International_ Operations             Attn:      SSA Sharon     Kuo, Asia Unit
                                                                     Room 1313
                    Seattl-e                              Attn:      SA     Patrick .I. Garry,      Squad
          From: Legat Seoul-
                   Contact:              SA Christopher      Ki_m,

         Approved By:           Maeng J. Sung
         Drafted By:            Kim Christopher:ck
         Case rD #:                           3 (Pending)
         Tit1e:        SUNG HONG;
                       aka LAWRENCE HONG;
                       TNVESTMENT FRAUD
                       EBW,    MF

         Synopsis: Legat Seoul_ fead covered.
         Enclosure: Enclosed for FBr*Seattle is one copy of records from
         the Korean Nationaf pol_ice Agency.
         Reference:                    Serial B1
         Details: FBI-seattl-e requested Legat Seoul obtain court records,
         evldence of any property or other assets located in Korea, and
         cri-mi-naf histories related to individual-s mentioned above and other
         individual-s rel-ated to captioned investigati-on. The Korean National
         Police Agency (KNPA) at the request ot the Legat Seoul- i-nvestigated
         and obtained the requested records. on B/rl/07, Legat seoul_
         received the requested records for KNPA and is enclosi-ngihese records
         for EBr-seattle. Legat seour- considers this lead c6vered.




                                                                                                       Hong_027656
                   Case 2:17-cr-00163-TSZ Document 114-3 Filed 09/28/18 Page 3 of 54
(Rev.0l-31-2003)


                       FEDERAL BUREAU OF I]Ur7ESiTIGATION

         Precedence: ROUTINE                                    Date   I   OA/LO/ZOOI
         To: Seattle
        From: Seattle
                  Squad 4
                  Contact: SA patrick J. Garry,             206_262_2260
        Approved By: Seifert Christine A


                     ;:                  r,t3.:;,
        ":::T:
        Title:       SUNG HONG;
                     aKa
                          ",,,-*:,;,
                         LAWRENCE HONG;
                     INVESTMENT FRAUD
                     FBW,   MF

       slmopsis: To document, results of Language services request to
       summarize Korean National police egenEy- report.
       Enclosure(E): copy of FBr-seattle Translation Analysis center
       summary of Korean National police Agency report.
       Details: on .January 10, 2007, the seattle Division requested the
       assistance of the _Legal Attache in seou1, Korea to provide
       i-nformat.j-on regardlng sung llong, a.k.a. Lawrence lr"'"g.
       2-8, 2007, !ega!-se9u1 provided-an unLranslared                on March
       Korean National police                             ;";;;E   from  rhe
                                 lgencr.  on April 10, 2007, the FBr_
       seat'tle Translation Anal-ysis- center |rovided a aeiaiied summary
       of the report.
                    The report contains details of a complaint agalnst sung
       Hong by an investor in Korea. The victim, S                  , lost
       approximately g10o,ooo in transfers to sung                ry 2003.



       lOOPJGO2 . EC
       l0




                                                                           GOPV
                                                                                        Hong_027657
               Case 2:17-cr-00163-TSZ Document 114-3 Filed 09/28/18 Page 4 of 54
Vr'     classification:    fl   Uncras,rfied X confidential                E secret       r_J   rop secret
                                LANGUAGE SERVICES REQUEST
                                       - FIELD OFFICE .
        Please complete one copy of this form for each request.

       Field offices: submit this form and a copy of the materiat
       Language Program coordinator (sFLPc) o,i
                                                                  to be transrated to y.our local supervisory Foreign
                                                 vi,ur roreign  t niriii Cii)ainator if you do not have an sFLpc.
                        [Note: FBiHQ   or   Legats should use the "Language seruices Reguest
                                                                                                    -   Heactguarters,, form.J
       Requestor:          Patrick J, Garry                     Date:             03/28/2007
       Telephone:                                               Squad/Unit/Legat/etc.: 4
       Case/File #:                                                     Title:
                                                                Case              Sung   Hong,ffi
       Language            From:     Korean                                Into:    English


                                                                E   rnrenpRETATroN
        n Verbatim                                              Nature of assignment:
        X summary


          ffi Document(s)            rr of pages: 100
         f] vioeo                   # or HH:MM:
         n   Ruaio
             I telephone # of sessions:                        Clearance required (e.g., TS-SCI, Secret,
             LI Microphone # of HH:MM:                         etc.):
             E tive    monitoring
             E other:                                          Names and titles/rants oFFBi participants:


      Participants in the recording/AocumEnt (if
      known): Suno       Honq

                                                               Names and titles/ranks of other participants:




                                                              lOff  .- Talking points must be provided to interpreter at
                                                              least 24 HOURS before   assignment.
      Special Instructions/Information: 1e.g., synopsis of case, handting caveats, etc.)
                                                                                         Original is enclosed.
      Please do not mark original document. Please assign to Tae Kim as
                                                                                    he is familiar with the
      case' The documents contain a report by the Korein National police ng"*y regarding
      Hong's activities in Korea. Please provide a short summary of the
      identify any additional victims, loss amounts, etc. Thank you for your
                                                                                  contlnts. Also, please
                                                                                      assistance.




                                                                                                              Rev.04/24/2006


                                                                                                                               Hong_027658
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Page 1

South Korean National Police Agency's reply to the
                                                   U.S. FBI,s request conceming HONG
Sung hoon




Page 2

The request was received by
                [PH], Inspector
               [PH], Sr. Inspector
                  [PH], Superintendent
              [PH], Director of Foreign Affairs Division




                                                                                       Hong_027659
    Case 2:17-cr-00163-TSZ Document 114-3 Filed 09/28/18 Page 6 of 54



Page 3

An Informal order issued by seoul central Distict court

Case:          Fraud
rheAccus'd'X3il,:
                       j
               Place of    Birth:
                                                                              #ffi
The Principal
Penalty & Other
Measures
              The accused is ordered to pay the penalty of the amount equivalent
                                                                                 to
              us$ 15,000.

               If the accused doesn't pay aforementioned amount, he will be sent to
                                                                                    the
               "forcedJabor workplace" and will remain there working until the amount
                                                                                        is
               frrlly paid off (US$ 50 per day).


Prosecutor or the accused can petition for a formal hearing within 7
                                                                     days
                                                                       r - upon receiving
thisorder.




                                                                                             Hong_027660
    Case 2:17-cr-00163-TSZ Document 114-3 Filed 09/28/18 Page 7 of 54



Page 4

The Charge

At Oakwood Hotel in Seoul onAU06l2003 the accused approached the accuser, K
      [PH] as arenowned hedge fund manger who manages Starbucks chairman,s funds.


The accuser, K                , claimed that although the accused, who claimed to run an
investnent firm and had information on Trump Casino, a soon to be bankrupt American
company, had neither the intention of retuming the principal by the end of May
                                                                                 of 2003
nol the capacrty to realize the proceeds of over 10 times olthe-original invesunent, had
swindled her to deliver the amount equivalent to US$100,000 oveithe period of tw.o
occasion, once on 0l/14D003 and once on0r/3012003, us$50,000 respectively.




                                                                                           Hong_027661
     Case 2:17-cr-00163-TSZ Document 114-3 Filed 09/28/18 Page 8 of 54



page 5

The fust page of the Lawsuit Record

CaseNumber:
CaseName:                  Fraud
Prosecutor:                           tpHI
The Accused:               HONG Sung hoon-
Defense    Attorney:                       [pH]




Page 6

Instifution of a Lawsuit ofNon-prosecution Case

Name:               HONG Sung hoon
Korean
National
ID #:
Occupation: Runs an Investnent Firm
Address:                                          Kirkland, washington, u.s.A.
Place of   Birth:

Charged with: Fraud

Reason   of
Institution:        Discovery of the accused,s whereabouts




Page 7

The accused's whereabouts unknown
Arrest warant issued
Requesting notification at the time of entry




                                                                                 Hong_027662
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Page   I
HONG's case is forwarded to Seoul District Prosecutor's Office
                                                               on0212312004




Page9&Page10

Table of Content of the Case Record




                                                                              Hong_027663
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Page 11

                                     A Written Opinion

HONG Sung hoon
National ID #
Address
Place of Birth

    l'   There is'no record of any criminal punishment or suspension
                                                                     of indictment.


    1.   Facts Constituting the Offense

The accuied, whose whereabouts is unknown, told the accuser that
                                                                   he is managing not
     L               's{the amgunt  equivalent to) US$ 100 million but
91ly                                                                   also
Hannara [P[rl party's funds. He claimed that Microsoft Vice-Chairman
                                                                         and"i"rt "r
                                                                             Starbucks
Chairman are his clients an! had about (the amount equivalent t"l
                                                                  uiCzlr-iUlton at his
discretion. He also claimed that he made enormous pioceeds for his cousin p
[PH] and K                [pH].

[The rest of information is same as that of in page 4.]




                                                                                         Hong_027664
    Case 2:17-cr-00163-TSZ Document 114-3 Filed 09/28/18 Page 11 of 54



Page 12

 The accuser claims that she got to know.the accused
                                                      through her acquaintance K
chul [PH] and L              [PH]. They introduced the accirsed as a hedge fund manager
from America' The accuser claims ttrat ttre accused told
                                                          her that she could make enormous
proceeds if she purchases a soon-to-be
                                         bankrupt Trump Casino's stocks now and sells
them to the public later, and she believed him and deliver.J
                                                              us$too,ooo.
Subsequently when the accused never handed her the
                                                       "investment certificate,,, she claims
that she confronted him on 06104/2003, right before
                                                     t. *urlruuing for trr. u.i. At that
time she learned that the accused used heiinvestment noiin
                                                              Trump Casino but on
NASDAQ and S&P. The accuser claims that since the accused
                                                                 returned to the U.S., he
never answered her calls, never made any payment
                                                    to her.

As a result of investigation, it is confirmed that the accused
                                                                 is residing abroad. According
to the Immigration control record,
                                      [he] left for an Island aljacent to the U.S. on
1U04t2000.
Since any further investigation is impossible due to the
                                                             accused's whereabouts is unclear, I,
C                  inspector, request suspension of indictment until the accused
                                                                                     is located.




                                                                                                    Hong_027665
   Case 2:17-cr-00163-TSZ Document 114-3 Filed 09/28/18 Page 12 of 54



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Signed by Inspector C
                              [pH]




                                                                        Hong_027666
      Case 2:17-cr-00163-TSZ Document 114-3 Filed 09/28/18 Page 13 of 54



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                                     Lawsuit



The   Accuser         K           [pH]
The   Atiused         HONG Sung hoon [pH]


D ate 10t0212003
Case   #:   19905

Person in Charge: K
                               ffi




                                                                           Hong_027667
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 The contents of the Lawsuit

 The   accuser K                 [pH] (National ID #)
                  (Address)
                  (Phone number)

The accused HONJG sung hoon
                              [pH] (Date of Birt]r            fig7r)
            (Address                    Sammamish,           WA 93075)
            (Contact number while in Korea
            (Contact number for U.S.
            Passport number

For fraud

Fact of Complaint

I, the accuser, Eun working as an investment counselor. The accused is a Korean
                                                                                    holding
lhe
     u.f . citizenship. I am bringing a charge against the accused for fraud, plr*.
investigate the matter and punish him severely.

I, the accuser, were          a friendly meeting
                                               with K
                          q                                          [pH] and L
[PH] when P               [PH], the accused cousin, joined ur *ith the accused (HONG
Sung hoon). K                introduced the accused as a renowned hedge fund manager
from America.

A few days later P            called me at my offrce and told me that the accused wishes
to see me on behalf of his American clients who want to invest in Korea. So I set up a
meeting and we met at the oakwood Hotel in Seoul or-0110612003.

The accused explained that he uses a "dollar black market" in Daegu when I asked him
how it is possible to take so many dollars out of the country.
                                                               [The iest of information is the
same as that of in page 4 & Page l l.l

The accused told m9 that he bought information about Trump Casino, a financially
troubled company, for US$500,000 and that he could make the proceeds of at least l7 to
20 times of the principal if I make the investment. I told him that I would be happy even
wittr the proceeds of double or triple. I had exha funds of (the amount equivaleniio)
US$100,000, which I could used until the end of May. I handed him the half on 0Ul4 and
the other half on 01130.

I, the accuslfr     him that I must have the principal back by the end of May and the
               !o!d
accused replied that he could give it back to me by then, so I should not worry. He told
                                                                                         me
not to worry repeatedly.




                                                                                                 Hong_027668
    Case 2:17-cr-00163-TSZ Document 114-3 Filed 09/28/18 Page 15 of 54



Page 16

when the end of May came, the accused not only did
                                                      not return the principal, but also
rl:lq:9""swering my calrs. Moreover he was
06104/2003 without acknowredging me. I caught
                                                iru*ing on leaving ior trrJ u.s. on
                                                  him aT P
clinic) and was able to p*. him sign u pro*Irrory note before            h;;it"l (Dentar
                                                                 P              and K
            In the note the accused piory19o t9 *ur.rpuyr*nts
                                                                of US$40,000 in August,
US$30,000 in September, and US$-SO,OOO in October.

I, the accuser, have notreceived any communication from
                                                           the accused, he didn,t call me
even when he was visiting Korea in July, nor returned
                                                      my calls since he 1.ft th; counky in
June. Moreover, I have not received any payment from
                                                       tiie accused.


If the accused made investment of US$100,000 in Trump      Casino, then he should have
given me the statements associated with transfening
                                                     the'funds and the document
associated with the inygltment, yet he has not given-me
                                                        neither. In addition to that he has
default his payment obligation. Therefore, I conclude that
                                                           he intentionally upp*u"fred me
1o f,azzle me into his swindling scheme. So please investigate
                                                               this case aa pi-isr, rrim
severely.


Supporting Evidence

Promissory Note
Copy of Passport and Driver License

09t30t2003




                                                                                              Hong_027669
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Promissory Note

I, HONG sung hoon, have received us$50,000 once on 0llo4l20o3and once
                                                                      on
01130/2003 from K             with intention of investing.

The period of investment was until 05131/2A$ and I promised that
                                                                 I would,.preserve,, and
refund the principal by the end of the investmentperiod.

Since I have not firlfillabove obligation,I now (0610412003) promise that
                                                                          I will refund the
principal by |0BAD003.

If I don't refund the principal by l0/3012003,then I will not object to whatever measure
you would take upon me.




Signed by HONG Sung hoon




                                                                                              Hong_027670
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.   Page   lB
:
    Copy of HONG,s U.S. passport & Driver License




    Page 19 to Page 25

    The Accuser's Statement and her Driver License




                                                                            Hong_027671
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Individual Exit and Entry Record of [Immigration control]

Name: HONG Sung hoon                          Sex: Male           DOB:        /1971
Nationality: Korean                           RecordDuration: 0l/01/1900 to t0ll0/2003
Port     (E)ng/        Date       Passport#            From/            Purposc of   Visit   Immigration Control
         (D)eparture                                   Destination                           Number
Kimpo    E             rvw99                           u.s.
Kimpo    E             03/16/00                        u.s.             Visit
Kimpo    D             04/05/00                        Japan            Business
Kim.po   D             oiltgtm                         u.s.
Kimpo    E             07t30lw                         u.s.             Business
Kimpo    E             10/08/00                        u.s.             Business
Kimpo    D             ll/04/00                        Isle near U.S.




                                                                                                                   Hong_027672
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Same as the Written Opinion (From page   l1 to page   13)




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Page 31 and Page 32

Arrest Warrant




Page 33

Facts Constituting the Offense

Same as the contents in page I   I




Page   i4
Request of putting HONG on the wanted list




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HONG Sung hoon's family census registation




                                                                         Hong_027673
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Individual Exit and Entry Record of [Immigration control]

Same as the contents   inpage26.




                                                                         Hong_027674
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    Page 37

    Individual Exit and Entry Record of [Immigration conhol]

    Name: HONG sung hoon                sex:   Male            DoB:         3llgll
    Nationality: Korean                 Record Duration:   0ll0lllggT to   03101t20A4

'   Port     v/       Date Passport#           From/       purpose of visit   rmmigraiioncontrol
          (D)eParture
           Qllllllllllllllll)nt

                                               Destination                    Number
    Kimpo E           lOD2t92                  U.S.        Visir
    Kimpo D           tu0V92     9             U.S.
    Kimpo D           lU(4ll9g   142           U.S.        DipartureofOR




    [TN: OR is short for Overseas Resident]




                                                                                                   Hong_027675
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Page 38

Individual Exit and Entry Record of [Immigration Contol]

Name: HONG Sung hoon               Sex:   Male            DOB:        llg7l
Nationality: Korean                Record Duration:   C]'l}ln987 ta 03l0ll}0A4
Port (E)ntry/   Dals Passport #     Frorn/      Purpose of Visit       Immtgration Control
      @)epamure                     Destination                        Num6sr
Kimpo E         054U00          552 U.S.        Tour&Sightseaing




                                                                                             Hong_027676
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Requesting Immigration Control Office to notify HoNG's
                                                       entry to the prosecutor,s off,rce




                                                                                           Hong_027677
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Page 44

Interrogation with Suspect

Name: HONG sung hoon (Lawrence HONG) National ID#:


The interrogation is conducted by Prosecutor K                 in the presence of an Assistant
Prosecutor H                 [PH].

Q: Tell   me your name, age, date of birttr, occupation, place of origin, and current address.

A: My ftrme is HONG     Sung hoon. My National ID # is                        (33 years old).
       I run an investment firm.
       Business address is"26902 Sheet, Cityof Southeast, WA 98075
       [The name of the business is] "HNH Group INC,,
       My home address is                              Kirkland, WA
       Phone number is
       The place of origin is


The prosecutor explained the charge brought against him and read him a right to refuse to
partake in this interrogation and the suspect agreed to answer truthfully.




                                                                                                 Hong_027678
      Case 2:17-cr-00163-TSZ Document 114-3 Filed 09/28/18 Page 25 of 54                                        I
                                                                                                                E,




                                                                                                                i
                                                                                                                I
                                                                                                                I



                                                                                                          ,It
Page 45 to Page 53                                                                                            ';
                                                                                                         :'   .t,

                                                                                                          ,i
Q: Do you have any prior conviction?
A: No.

Q: What brought you to this office?
A: I learned about the charge brought against me while I was visiting my in-laws in
Korea, whom I visit three to four times a year, so I went to see an Attorney to seek
                                                                                     advice
and after talked with him, I decided to come to this office
Some times ago, when I came to visit my cousin in Korea, I met the accuser by
                                                                                  chance.
She trusted me with her funds for a "forward investrnent,'; and I made an investment
                                                                                        for
her but she suffered a loss. I think she brought the charge against me for tlat reason.

Q, lvhul     are your [latest] education level and [professional] experience?
A: I majored  Finance althe University of Washington. I later worked for my parents,
fund management firm for some times. Then in 1999, I found "HNH Croup'fNC" and              I
am running it since.

Q: What is your family like?
A: I have father H                [pH] (64 years old, runs a frrnd management firm),
mother K               [PH] (65 years old, housewife), wife K               [pH], and
don't have any children yet.

Q: How much is your         assets and what is your monthly income?
A: I have a house worth of (the amount equivalent to) US$250,000 as a fixed asset and
have US$55,000 in my bank account in America. I have debts of about US$2 million, and
I have a monthly income of almost zero since my firm is operated at lose.

Q: Have you received any citation of merit or pension?
A: No.

Q: How about the military obligation?
A:   I didn't have to serve since I immigrated to America with my family when I was nine
years old.


Q: Have you      ever   joined any societal organization or political party/organization?
A: No.

Q: What is yor.r religion?
A: I am a Christian.

Q: Do you have any alias or nickname?
A: My American name is Lawrence HONG.

Q: How is your health?
A: Pretty healthy.




                                                                                                Hong_027679
          Case 2:17-cr-00163-TSZ Document 114-3 Filed 09/28/18 Page 26 of 54



    Q: What is your nationality?
'   A:    I posses American citizenship. My family immigrated to American when
                                                                               I was nine,
    and   I grew up there   since.

i   Q: A lawsuit     was brought against you and an arrest warant was issued, were you
                                                                                                        of
I   these?
                                                                                       aware

    A:    No.

    Q: Do you know the accuser K                      [pH] (Age of 30)
    A: I met her by chance when I went to visit my cousin at her dental clinic, and I learn that
    she was     working for Seoul Stock Exchange, Jamsil Branch.

    Q: At that time what were you doing for a living?
    A: I was investing  in stocks in the u.S since 1997, and,from January of 2002, I was
    dealing a forward trading.

    Q: Have you ever received us$100,000 from        the accuser K               tpH]?
    A:    Yes, I received total of us$100,000, over the period of two occasions.

    Q: Did you receive them at the Oakwood Hotel on0lll4l}003?
    A:   Yes, although I can't remember the exact date, since I haven't kept the record, but I
    think it's correct.

    a:  What was the money for?
    A: She asked me to invest it in a forward market. She knew I was dealing a forward
    trading.
.
    Q: Didn't you say the accuser worked for       a stock exchange company?
'   A: Yes. She said she also deals a forward trading.

    Q: How did   she come about investing her money in a forward market through you?
    A: After we met, we had an opportunity to get together to exchange information and
    thoughts on the Korean and the U.S. forward market. At that time I introduced to her the
    website I reference before I make my investment in the U.S. forward market. I even let her
    have my user id and the password for the site so that she can reference it for herself. After
    studying the market together for some times, we projected that the U.S. forward market
    index would decline in a near future thus, the accuser wanted to invest in the market now
    for a potential proceeds. But because of Korean law prohibiting an employee of a stock
    exchange company from involving in any hading, she asked me to invest it for her.

    Q: What is forward trading?
    A: It is to buying    goods at the price which it was set at the time of signing a contract   for
    future delivery.

    Q: Did you actually     made investrnent with that US$100,000?




                                                                                                             Hong_027680
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 A: I made investment     in the stock index futures, combined index of DOW,
                                                                               S&p, and
 NASDAQ. V/ith my own funds, I invested total of US$160,000
                                                                    over the period of time.

 Q: Did the accuser know   about that?
 A:  Yes, of course. I had a discussion with her over this.
                                                            We both projected that the stock
 price would go down as the war with Iraq was imminent.

 IOmission]

 Q: What was the outcome?
A:  In contrast to our projection, the price of stock went up after the
                                                                        war, and we suffered a
loss. By early June of 2003, I lost US$l60,000 completely.

Q: How many investments did you made over           that period?
A:    Three to four investments, as far as I   can,.*.*b...
Q: Did you talk with the accuser each time you were investing?
A:   Yes, of course. Although our expectation fell short, general investors
                                                                            and the experts
still anticipated that the stock price would fall, and we aireed. Thus I continuously
                                                                                      made
investment with her consent.

Q: Do you have any evidence that shows you made investment in the stock index futures?
A: Yes. I have my CPA in America to fax the relating documents to my hotel room in the
Oakwood hotel. And since they are written in English, I will bring them to youafter
translating them into Korean.

Q: According to the accuser, you told her that you were a renowned hedge fund manager
and L                 [PH], Hannara Party, Microsoft Vice-Chair, and Staibucks Chair are
all your clients and (the_amount equivalent to) US$2 to US$3 billion are under your
discretion. And you had made enormous proceeds for p               , yo*           and K
                                                                          "orrirr,
             You not only told her that you have information on Trump Casino   which will
soon file a bankruptcy, and if she invest in the company, she can make proceeds of
anywhere between 17 and 22times. Also you pledged that you would ieturn the principal
back to her by the end of May of 2003.

IOmission]

Is that true?
A:   Yes I told the accuser that I was a fund manager and that a stock index future trading is
 carried out by hedge fund managers. But I have never said anything about L
or Hannara Pary, I don't even know who and what they are. I did not say Microsoft Vice
Chair and Starbucks Chair were my clients, but I did say they Microsoft and Starbucks are
.the biggest corporation in Washington State when she asked. And I told her that I have
seen them in person on the street once. I've never mention anything about Trump Casino.
All I talked to her was about "fonryard market.,,




                                                                                                 Hong_027681
     Case 2:17-cr-00163-TSZ Document 114-3 Filed 09/28/18 Page 28 of 54



Q: Trump Casino, is there such company?
A: Yes. It is in the state of New Jersey, which is in the eastern part of the U.S. I live in
Washington State which is in the westem part of the U.S. It is s-haring the border
                                                                                     with
Canada. Not only it would have been impossible for me to leam aborit the company
                                                                                         [due
to a geographical locationl, I have never have been interested in the company.

Q: Then how do you explain this promissory     note?
A:   (After reviewing the note) The date on the note is the date I left for America. On that
day the accuser and her aunt came to the dental clinic where my cousin p
worked so I talked with them for two to three hours. Her aunt claimed that the accuser is
poor and that she must have her money back. When I told her that I don't have her money,
she then shouted and grabbed me by the collar; she also begged me to return her money. i
hied to explain to her what had happened and told her I also suffered a loss, but without
listened, she shouted, "You can't go anywhere until she gets her money back" while used
her body as a barricade to stop me from getting into an eievator. So th-at, although I had no
obligation of returning her money, I wrote a statement, out of pity, in English on tt.
bottom of the note as you see it. However,I am not quite surewhether I wrote it on a
blank sheet ofpaper or on this note.

Q: Would you be able to attend a face-to-face questioning?
A: Of course, since the accuser can attend on 1212212A04 at 14:00 hour, I    will   be here.




                                                                                                Hong_027682
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After reviewed his statement with his wife K
                                                              [ptl], due to his somewhat
limited understanding of Korean language, the accus.Jn rJuy signed
                                                                        the s*ement
confirming that the statement was consistent with all of his a$wers.



Finger print of HONG Lawrence and his wife K

Dtate 12ll7t2AO4

Seoul Central District Court

Prosecutor's signature




                                                                                           Hong_027683
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.    The document signed by HONG Lawrence is acknowledging that the interrogation
                                                                                        was
 .   conducted under no duress or coercion and that the right of ren .ut to make slatement
                                                                                           was
     read to him.




     Page 56

     A copy of HONG's U.S. Passport




     Page 57

     This is HONG's hand written statement promising that he will return to the prosecutor,s
     office for partake in a face-to-face questioning.

     Date and HONG's signature in Korean




     Page 58

     This form is to request to remove HONG from the wanted list




                                                                                                 Hong_027684
                                                                                                                    I
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 Page 59 to Page 66                                                                                                 i.
                                                                                                                    B


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                                                                                                                    t
                                                                                                         1{,
 Transcription of the face-to-face-questioning of HONG
                                                       and K                                                        i
                                                                                                               :$
                                                                                                                    I
 [To HONG]                                                                                                          I
                                                                                                                    !
                                                                                                                    ?


 Q: Did you make your statement truthfully last time?                                                               ,
                                                                                                                    i
 A:   Yes.                                                                                                          I
                                                                                                                    i
                                                                                                                    i
                                                                                                                    I
                                                                                                                    I

 [Then the prosecutor brought the accuser K                   to the interrogation room.]
                                                                                                                    I

                                                                                                                    i
                                                                                                                    I
 [To K

Q: Are you K                   the accuser for this case?
A: Yes.

Q: Is that ffue that you delivered
                                 sum of US$100,000 over the period of two occasions as
an investment funds for an American company called rrump casino?
A: Yes.
[omission: The rest of her answer is consistent with her earlier claim.]

Q: Is there anyone who knows      about you delivered that money to the accused?
A:   P                  -[pH], L          [pH], and K                   [pH] know about it.
I later found out that the accused approached      arra K        ttre same way he approached
me---offered to make investment.

Q: Do you     have their contact number?
A:           contact number is                ,and you could obtain K          from L

[The prosecutor made a phone call to L         and asked if K          statement was true and
L     confirmed K            claim. L     said that the accused told her that he was also
managing some of Korean celebrities' funds. When the prosecutor asked if she could
testiff in the court, she replied positively. Subsequently, when the prosecutor asked for
K        phone number, L       told him that she would have K       call him. After a short
while, the prosecutor received a phone call from K . And she also confirmed K
claim. K       said that she was really interested in investing, but after consulted with other
people, they advised her not to as it seemed most definitely a fraud. K         also replied
positively about testifying in the court and left her phone number,                       with the
prosecutor before ending the call.]

[To KANG]

Q: Did the accused guarantee     the principal?
A: Yes. He said that the investment would    not go bad and if somehow it goes bad, he said
then he would bear the responsibility of returning the principal and the acJused said the




                                                                                                     Hong_027685
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same thing when K               asked him of this on June of 2003, the day that     I have the
accused signed the promissory note.


Q: Is that true that the accused said he was managing L                   and H
Party's funds and the Microsoft Vice Chair and the S-tarbucks Chair are
                                                                          his clients?
A: Yes. My friend?                      [PH] and P                   heard that also. And a
few months later, when he showed up with-Jaguar I asked him if hi purchased
                                                                                  the car, then
he said "The party gave it to me," so I took it as Hannara party has given
                                                                           it to him.

Q: The accused claimed that he had discussions about forward market with you but had
never mentioned about Trump Casino, is that true?
A: He did explain to me about forward market and the [web] site he was referencing it
with, and yes I did talk with him about the market trend. However the amount I delivered
to him was for investing in Trump Casino, I did not know anything about Trump
                                                                                Casino.
The accused is a pack of lies.

[Then the Prosecutor turned to the accused.]

[To the accused]

Q: Did you   hear the conversation I had with L     (L       was heard on a speaker phone) and
the one I had with K
A:   Yes.

Q: You claimed previously that you had no idea who "L                ,' and what
"H        Party" was, what do you say now?
A: Do I have to answer it now? (The prosecutor told him he had the right of silence, then)
I won't answer it.

Q: I ask you again, did you answer truthfully   last time?
A: Yes,I did.

[The prosecutor asked both the accuser and the accused.]

Q: Did you answer truthfully?
A:   (Together) Yes.

Q: Do you have anything    else to add?
A:  (The accused) Please consider my statement as a reference.
A:  (The accuser) I knew N               [PH] through the accused, and he even told me
that the accused is a swindler. N said his friend, who also got swindled by him, did some
research on HONG and found out that he was neither an owner nor an employee of an
investment firm. I would like to present N     business card and the business card HONG
gave to me when we first met.

[Signed by K               and HONG Lawrence]




                                                                                                  Hong_027686
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Page 67

Same as Page 45




Page 68

A letter apprising the prosecutor of the accuser K       asking for a postponement of
attending a faceto-face questioning until 1212212004 due to a cancer treatment.
K        claims that she got the cancer by enormous stess over this case.




Page 69

Statement of K                , HONG's wife

Attached documents are: wire transfer statements from Korean Exchange Bank and a    copy             i
of Elliott Wave.com, the site IHONG] referenced, and a copy of ELOCAL LLC website.

Finger printed by K




                                                                                           Hong_027687
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Page 70

CustomerName: IHONGSunghoon]
CustomerNumber:
National/Business Number [
Statement Period     l0ll}U2003 to 05/01/20031
Print Date          ltzlt6t20047




                                                                         Hong_027688
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Page 71 and Page 72

                                     Foreign Curreney Deposit Statement

customerName:          IH0NGSunghoon]             NarionauBusinessNumberpl
customcr Numbet                        79-41      statement   Period l0ll0ll20f.3 ta 0613012003l
Account Number:
Branch:                lBanpo Newcoa Branch (201) (02)534-64701


I*,',g , ,,,[?r5?004r
Type of Deposit: Foreign Cunency Regular



Paid   Amt   Deposit   Amt   Balance   Depositor Remads




                                                                                                   Hong_027689
   Case 2:17-cr-00163-TSZ Document 114-3 Filed 09/28/18 Page 36 of 54



Page 73

A copy of Elliott Wave.com site




Page 74

Summary Translation of Elliott Wave.com




Page 75

A copy of ELOCAL LLC website




                                                                        Hong_027690
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The accuser K                statement

[Found no new information]




                                                                         Hong_027691
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    Page 82

    The medical certification issued by the-U^niversrty of Chonnam Medical
                                                                           Center certiffing
.   that the accuser K              suffered from anLvary cancer and underwent surgery on
    03131/2004 and underwent series of "anticancer heatments" from
                                                                     06117 to 06119.




                                                                                               Hong_027692
    Case 2:17-cr-00163-TSZ Document 114-3 Filed 09/28/18 Page 39 of 54
                                                                                       i




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HONG Lawrence's statement

[Found no new information]




                                                                         Hong_027693
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Deposit Statement

    l.   0112812003 Transfened US$55,584 to   ELOCAL LLC (a fonrard tading company)
         (See Page 02)
   2. 03/14120A3 Transferred US$30,000 (See Page 06)
   3. 04116/2003 Transfened US$20,000 (See Page 07)
Statement of profit and loss

Jan:     US$13,371 profit (See Page 03)

Feb:     US$43,895 profit (See Page 05)

Mar:     US$l13,221.001oss (See Page 08)

Apr: US$1,375 loss (See Page l0)
May:     US$81,525.75 loss (See Page 12)

Jun:     US$21,599.40 loss (See Page 13)

I transferred the amount I received from K      to H&H GROUP account on
01127/20A3 afi,0211912003 and ELOCAL LLC on 0112812003, A3/1412003, and
04n6t2003

[Omission]




                                                                                      Hong_027694
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Fax Coversheet and documents faxed from D    CPA to HONG Lawrence




                                                                        Hong_027695
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Page 105 to Page 107

P              Statement



In December2D}2,I was having a dinner with HONG Sung hoon when we met K
         [the accuser]. She was with K               (Co-owner of the clinic I run since 25
years ago. He is currently running a business which he started in year 2000) and his
friends when they came and joined us.
A few days later HONG said that he wants to find a Korean fund manager for his Korean
clients, so I recommended to call K       and, with her p'ermission, I gave her phone
number to him.
He told me that he had spoken to her on the phone and that they had been discussing about
forward and/or stock market.

I leamed that she made investment through HONG in March when we became lifile bit
closer. She told me that she made a huge investment through HONG and asked me if I did,
too. I replied that I and K            made investnent as well.

I am not sure exactly when four of us (HONG, K         P      and K     had dinner,
maybe it was in April. We talked about the forward market and its outlooks, and K
checked the index on her cell phone, and the index was up and we were all depressed.

The situation became the worst in May and [we] suffered a big loss. But I couldn't say
anything to HONG because he told me that his loss wi$ even bigger than the rest of us.

I was having a lunch with HONG when I received a call saying that K            and her aunt
are waiting at the clinic, so that HONG, K     and I went up there and met them. They
demanded the principal immediately. They were both very upset. They wanted HONG's
written statement saying that he would pay back K           loss by certain time. HONG
said it was impossible for him to pay her by that time, but he signed the statement so that
he would not miss his flight.

K       tried to contact HONG numerous times but he never answered. So I called and
advised him to talk to K      and try to explain his situation to her and ask for more time.
I even told him to worry about my and          [money] later, and to take care of K
money first, but his answer was that there was nothing he could do.

[Omission]




                                                                                               Hong_027696
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A form requesting to ban HONG from leaving the country




                                                                         Hong_027697
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      Page 109 to Page 111

      The letter requesting to drop the charge against HONG




      Page I12

      A form requesting to extend HoNG's banning from leaving the country




      Page 113 to Page 117

      [Same as Page   70toPage74]




      Page 118

      A letter requesting to forward any mail, including Court Order, from   Seoul Cental   Distict
      to HONG Sung hoon to below address


      Originated by HONG's lawyer




      Page 119 to Page 120

''.   Letter certiffing the exchange rate the time HONG received K            money to determine
      the exact amount of money K          was victim of.




      Page 121

      A form wittr HONG's general information




                                                                                                      Hong_027698
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Pagc'122

[$ame as Page 4]




tuse   123

Wdttsn Arraignmart
Name I HONGSunghoon

Chargc Fraud

Fenaltp (the amourrt,equivalent    ro) US$1i,000
             ."--*Requs$t Deposit Ord61'-*-




PsXe L24.

&livery Notico of Corrrt 0rder

Reeeived by I{                     , HONG's mother-in-law




                                                                         Hong_027699
            Case 2:17-cr-00163-TSZ Document 114-3 Filed 09/28/18 Page 46 of 54                                   P.l

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                                            rrRl{]\ISr.{TroNl

 Narne: HONG         SungHoon (                   )AKA       Sex: Male
 Age: 33                 t297t)         Residential Registation No.:
 Permanent Address: lblank]
 PresentAddress:                                      Kirkland, wA 9g033,        usA
                        Home phone:                 Work phone:
 Occupation:Investment Employer: H&HGroup,Inc.


        The above named Person, who is a suspect, victim, witress, rcference
                                                                             [or informant]),
hereby declare in his own writing at his own will, as follows:


         Around December, 2002, I carne to know the Plaintiff K
                                                                                      through the
inkoduction of my [femaleJ cousin who was running a dental clinic at Apkujungdong.
                                                                                       As she had
been inkoduced me as a person who engaged in a line of work similar
                                                                     to mine, I met her personally
a few days later. subsequently, I visited the Jamsil Branch office
                                                                    of soul securities
                                                                                    where she
was working and we browsed the fonrard tansaction information site together
                                                                            in Oalorood Hotel
room located at Samsung-dong where I was staying at the         time.
                                                                  As such, we shareda lot of
things about the line of work we were similarly engaged in. During our exchanges,
                                                                                  we talked
about our individual competency and confidence in performing our frade. ln
                                                                                        thc midst of the
conversations,   I
                overstated myself as being a nun of profession much more capable than
                                                                                       I aonrally
am.   The greatest blunder I made was that I presented myself in a way that I had a personal
                                                                                             on-
going deal with the H             Party and Mr. H               .   I   gave K               my ID and
password for the forward kansaction information site that    I was subscribing    to.   K   looked at
the information with interest and said she would like to make an inyesturent in the forward
                                                                                             business
in the United States. So, with K                and a frielrd of hers, I even went to a kading    office
in Kangnam where the forward taruactions were said to be made. But for some reason I don't
understand, we were not able to obtain an account and returned with cmpty hancl. Subsequently,
she said she rvould grve me money so that     I may invest it in the U.S. forward business market on
her behalf.




DECLARANONOFHONG SUNGHOON                   III


                                                                                                           Hong_027701
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                                                           /"
                                                      -/




                                                                     Hong_027702
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                                           rrRAlrsLAiloNI

DECLARATiON


Name:                         HONG SrmgHoon
Residential Reg. No.:
Adtlress:                                                      KirHand, WA
Tel:


       The above named person is the Defendant in the case pending in your court, Cause No. 2004
C[Criminal] 19876, and declares   as   follows:


       Around December, Z0A2,l met my [female] cousin P                , who was running a dental
clinic, and, while chatting with her, I came to join a dinner table with other people who were her
acquainhnces. During the dinner, I came to know the PlaintiffK                  , whom those at the
table intoduced as a capable fund manager. Engaged in the same line of tadc (a firnd manager),
we then shared the information related to our work and had chats of various topics, getting
acquainted with each other.


       K              came to the Oak Hotel Qocated at Samsung-dong) where       I was staying at the
time, and we had times to drink coffee and dine together. kr the midst of these, she showed her
interest in the U.S. fonrard hansaction market and eve,lr came to my room to watch together the
actual transactions shown on the Intemet that were producing    profits.   As for me,   I visited   at her
invitation the Jamsil Branch Offrce of Seoul Securities K                  was working, observing in
person how he was doing her work.




DECLARATTON OF IIONG SLrNG HOON                   (Ty"E   WRrrrE$ Vt


                                                                                                             Hong_027703
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                                    Kirkland WA
                                I




                                                                     Hong_027704
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                                             ITRANSLATTONI




rCertificate of Seal Impression (Seal)
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-   A copy of Rcsidenrial Regisuation Card
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               HONG Sung Hoon




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                                                                                                               Hong_027706
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                                                    [TRAr{Sr-ATroN]

 TRANSLATION AND suMtvtARy op sIJppoRTING
                                          MATERIAIS


 'rDeposits in Forward Transaction Accouat
 1'    Jan' 28, 2003    -   Remitted $55,584 to   ELocAL LLC (Forward rransacrion corupany) (Refer ro page
 02)
 2. Mar. 14,2003 - Remittcd $30,000 (Referto page 06).
 3. Apr. 16,2003 - Rernitted $20,000 (Refer to page 09).




 *Profit and Loss

January                 $13,371             profit(Refertopage03)
Febnrary                $43,995             profit(Referm pagc 05)
March                   $l13,221.50         Loss (Rcfcr to pagc 0g)
April:                  $1,375              Loss (Refu to page   l0)
May:                    $E1,525.E5         Loss @efer to page 12)
June:                   $21,599.40         Loss @eferto page 13)




           The fund received ftom tr                    was tarsfened m the H&H Group account through the
Korea Exchange Bank on January 27 and Febmary 19, 2003 and vas thcn wired        inb lhe accounr of ELOCAL
LLC (forward tansaction conrpany) over three times on January 2E, March      14, and   April   16 of the sar3s year,
respectively.



          h     January and Febnrary, a pmfit of about $13,000 and $43,000, respectively, was     realized. From
the month of March on, however, qrith the outbreak of the haq War, the investnent went astray and
                                                                                                  begm to
sustain losscs. By the end of May, all the principals, plus thc profiG gaincd in thc muths
                                                                                            of January aud
February,'nrere lost.




TRANSLATION AND SUM}{ARY OF SUPPORTING DOCUMENTS 7TI




                                                                                                                       Hong_027707
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                                                                     Hong_027708
